1          LAW OFFICES OF
       WING & PARISI
2    LINDA M. PARISI
     1101 E Street
3          SACRAMENTO, CA 95835
                   State Bar #084247
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5    ATTORNEYS FOR:              Defendant
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7
                                          IN THE UNITED STATES DISTRICT COURT
8
                                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
                                                         No.       2:10-cr-00427 KJM
11    UNITED STATES OF AMERICA
                                                         REQUEST AND ORDER
12                                          Plaintiff,   EXONERATING BAIL AND
              v.                                         RECONVEYANCE OF DEED OF
13                                                       TRUST
14    NHAT HOANG

15                                     Defendant,

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18              The Defendant, NHAT HOANG, having had her case dismissed on May 14, 2013

19   requests the Deed of Trust, previously posted as security in the matter be exonerated and

20   the Clerk of the Court or a designee is directed forthwith to exonerate the bail posed in this

21   matter; i.e., a Deed of Trust, filed on November 9, 2010, Docket Number 52, on real

22   property located at 6540 Rancho Adobe Drive, Sacramento California 95828 and to prepare

23   and cause to be filed a Deed of Reconveyance as necessary to fully exonerate the bail.

24              Dated: September 6, 2013
                                                                      ___/s/_LINDA M. PARISI _________
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                                                                      LINDA M. PARISI
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1          IT IS HEREBY ORDERED that the Deed of Trust on real property located at 6540
2    Rancho Adobe Drive, Sacramento California 95828    filed on November 9, 2010 be
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     exonerated.
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5          DATED: September 9, 2013
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7
                                          UNITED STATES DISTRICT JUDGE
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